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 3                                 IN THE UNITED STATES DISTRICT COURT

 4                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

 5                                            OAKLAND DIVISION

 6

 7    UNITED STATES OF AMERICA,                               Case No.: 4:20-CR-00266-JST

 8                    Plaintiff,                              [PROPOSED] ORDER AUTHORIZING
                                                              ISSUANCE OF RULE 17(C) SUBPOENA
 9            v.                                              DUCES TECUM

10    MICHAEL ROTHENBERG,

11                    Defendant.

12

13         GOOD CAUSE APPEARING, upon ex parte application of the defendant Michael Rothenberg

14   pursuant to Federal Rule of Criminal Procedure 17(c)(3) and Northern District of California Criminal

15   Local Rule 17-2, IT IS HEREBY ORDERED:

16           1.    A subpoena duces tecum shall be issued to Rothenberg Ventures. The Court is satisfied

17   the production of the records described in Attachment A to the subpoena is necessary to Mr.

18   Rothenberg’s defense at sentencing.

19           2.    The cost of such process and the fees and expenses of the witness subpoenaed shall be

20   paid as if the witness was subpoenaed on behalf of the government. The Court is satisfied that the

21   defendant is financially unable to pay these costs and fees.

22         IT IS SO ORDERED.

23

24   DATED:_________________                              ____________________________________
                                                          HONORABLE JON S. TIGAR
25                                                        United States District Judge
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     [PROPOSED] ORDER AUTHORIZING ISSUANCE OF RULE 17(C) SUBPOENA DUCES TECUM
     United States v. Rothenberg, 4:20-CR-00266-JST
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